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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
____________________________________
                                            )
Keren Kayemeth LeIsrael-                    )
Jewish National Fund, et al.                )
                                            )
                   Plaintiffs,              )
                                            )
      v.                                    )  Civil Action No. 1:19-cv-03425
                                            )
Education for a Just Peace in the Middle East)
d/b/a US Campaign for Palestinian Rights )
                                            )
                   Defendant.               )
____________________________________)

            PLAINTIFFS’ MOTION FOR RECONSIDERATION
                    PURSUANT TO F.R.C.P. 59(e)

       Plaintiffs respectfully move that this Court reconsider its decision of March

29, 2021 [D.E. 26] dismissing Plaintiffs’ Complaint pursuant to Fed. Rule of Civ.

Proc. 12(b)(6). The Court erred in ruling,

      (1) that there could be no “Direct Liability” because Plaintiffs’ Complaint

did not show proximate cause, did not allege a “direct relation” between the

Plaintiffs’ injury and Defendant’s injurious conduct, and did not allege facts to

support Plaintiffs’ contention that the Defendant “provided direct support” to

HAMAS; and




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       (2) that there could be no “Aiding-and-Abetting Liability” under JASTA

because the Welch v. Halberstam factors could not be met by Plaintiffs’ allegations

that the Defendant had knowingly provided substantial assistance to HAMAS.

      In accordance with L.Civ.R. 7.1(m) Plaintiffs’ counsel has outreached to

Defendant’s counsel and Defendant’s counsel has advised that they do not consent

to the relief sought by Plaintiffs in filing this motion.

      WHEREFORE, for the reasons set forth herein and in the attached

Memorandum of Law with Points and Authorities filed in support of this Motion,

Plaintiffs request this Court reconsider its decision of March 29, 2021 [D.E. 26].

Dated: April 26, 2021             Respectfully Submitted,

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                                  By:___/s/Tracy Reichman Kalik__________
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